Case 1:23-cv-00323-JAW Document1 Filed 08/18/23 Pagelof20 PagelID#:1

United States District Court U.S. relies ie « ing
District Court of Maine vISi a ong
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GLEN PLOURDE, )  g
) HAC 19 P 342.
Plaintiff )
) ee TS Tinea tee mea ee iecapeccs
v. ) bored ¥ CLERK
) Civil Action No: N22 ww. 00392-3mO
BPD OFFICER HIGGINS, BPD ) And Demand for a Jury Trial
OFFICER LEWIS, BPD OFFICER )
DAVIS, BANGOR POLICE )
DEPARTMENT, CITY OF BANGOR, _ )
)
Defendants )

COMPLAINT AND DEMAND FOR A JURY TRIAL

I. Parties to the Complaint
Plaintiff

1. Glen Plourde
455 Chapman Road
Newburgh, Penobscot County
Maine 04444
207,234,.2042
Glen.Plourde@gmail.com

Defendant #1

2. BPD Officer Brian Higgins (last name obtained from public record)
(Address Unknown Despite Multiple Background Checks)
(Phone Number Unknown Despite Multiple Background Checks)
(Email Unknown Despite Multiple Background Checks)

Defendant #2

3. BPD Officer Edwin Lewis (last name obtained from public record)
(Address Unknown Despite Multiple Background Checks)
(Phone Number Unknown Despite Multiple Background Checks)
(Email Unknown Despite Multiple Background Checks)

Defendant #3
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4. BPD Officer Shannon Davis (last name obtained from public record)
(Address Unknown Despite Multiple Background Checks)

(Phone Number Unknown Despite Multiple Background Checks)
(Email Unknown Despite Multiple Background Checks)
Defendant #4

5. Bangor Police Department
240 Main Street
Bangor, Maine 04401. Penobscot County.

207.947.7384
Bangor.police@bangormaine.gov
Defendant #5

6. City of Bangor
73 Harlow Street
Bangor, Maine 04401. Penobscot County.

207.992.4200
councilors@bangormaine.gov
Rick Fournier is Council Chair/Governor
II. Jurisdiction and Venue

7. This Court has subject matter jurisdiction over Plaintiffs Federal
Constitutional Claims pursuant to 28 U.S.C. §§ 1331 and 1343, and 42
U.S.C. §§ 1983 and 1988, as this action arises under the Constitution
and laws of the United States.

8. This Court has subject matter jurisdiction over Plaintiffs’ Maine State
Constitutional Claims pursuant to 28 U.S.C. § 1867, as those claims are
substantially related, both legally and factually, to the Federal
Constitutional Claims upon which original jurisdiction is premised.

9. This Court has personal jurisdiction over the Defendants as they are all,
to the best of the Plaintiffs knowledge, residents of Maine.

10. Venue in this district is proper under 28 U.S.C. § 1391(b) because the
Defendants are residents of the district, and the events giving rise to the
claim occurred within the district.

11. This case is properly filed in Bangor because the Plaintiff was subject to

unlawful action by the Defendants in Penobscot County, Maine.

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Ill. Statement of Facts

On August 21, 2017, at approximately 1:15pm, the Plaintiff (Glen
Plourde) was peaceably minding his own business inside his residence
at that time, Eagle Crest Apartments, 844 State Street, Apt. #56,
Bangor Maine 04401.

Plaintiffs mother visited him unannounced at that time and after a
brief argument, left.

Shortly thereafter, at approximately 1:30pm, The Bangor Police
Department (“BPD”), represented by Bangor Police Officers Higgins
(“Officer Higgins”), Lewis (“Officer Lewis”), and Davis (“Officer Davis”)
arrived at the Plaintiff's residence at Eagle Crest Apartments.

The Plaintiff could hear typical police “radio chatter” and concluded that
the party(s) arriving at his apartment (defendants) were probably law
enforcement officers of some kind although they never identified
themselves, never identified a reason for being at the Plaintiff's
apartment, and did not have a search warrant of any kind.

The Parties (defendants) noted above did not articulate a reason for
being at Plaintiffs apartment, nor did they articulate the fact that they
were law enforcement officers, nor did they have a search warrant of
any kind.

A BDP Officer who later identified himself as BDP Officer Higgins
breached (broken and removed) an interior screen of an open window
located directly adjacent to Plaintiffs front door, reached into the
Plaintiffs apartment, and unlocked the front door, opened the front
door, and proceeded to enter the Plaintiffs apartment through that
opened front door. BDP Officers Lewis and Davis followed Officer
Higgins into the Plaintiffs apartment.

Plaintiffs mother attempted to follow the Officers into Plaintiffs
apartment although she was quickly removed by Officer Higgins and
prevented from entering Plaintiffs apartment for the rest of the
encounter.

Plaintiff was naked at that time, as is his right to do alone and in the
privacy of his own dwelling with the interior blinds drawn shut,
because his apartment had a heating problem that had previously

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been officially reported to Eagle Crest Apartment Manager Maria
Mangio (the heat was stuck in the “on” position during the summer
despite the thermostat setting, which was and remained broken) and it
was extremely hot and uncomfortable in the Plaintiffs apartment.

The Plaintiff has not included his complaints regarding the excessive
heat nor the broken thermostat (nor the responses to those complaints)
to Eagle Crest Apartment Manager Maria Mangino although those
complaints and responses can be produced at The Court’s request if
deemed to be necessary.

Plaintiff had been attempting to nap on the floor of his apartment,
naked, because the heat was unbearable and the floor was the coolest
place in the apartment. When his apartment was breached as
described above, Plaintiff remained on the floor and attempted to
obscure his genitals from whomever might be coming through the door.

The three BDP Officer defendants entered the Plaintiff's apartment
and ordered the Plaintiff to stand up, naked, and put his arms over his
head and rotate in circles (like a pirouette) so that they could “check
for injury”. They stated that they “thought the Plaintiff was bleeding”
although there was no blood whatsoever of any kind in the Plaintiffs
apartment or on his person.

The Plaintiff was completely fine, completely healthy, was not
bleeding, and had no injury(s).

The Plaintiff noted that Officer Davis was a female about his age and
standing naked in her presence and being forced to rotate in circles
with his arms over his head embarrassed the Plaintiff greatly.

Likewise, the Officers had left the door to the Plaintiffs apartment
wide open, although they were standing between him and the door
detaining him but this did not block the view, and the Plaintiff saw
many of his neighbors, some being women his age or younger, looking
in through the open door at the naked Plaintiff as the BDP’s presence
had attracted their attention. The Plaintiff was extremely
embarrassed that many of his neighbors, some being young women,
were watching and continued to watch him being questioned by the
BPD while he was naked.

After finding no injury, the BDP Officers stated that they “were
concerned about the Plaintiffs mental health”, although they did not
state why.
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26. The Plaintiff had not given them, the BDP, or the City of Bangor any
cause to be concerned about his mental health whatsoever at any
time.

27. The Plaintiff repeatedly told the BPD Officers he had done nothing
wrong and asked them repeatedly to leave his apartment and leave
him in peace.

28. The BDP Officers appeared to be attempting to trespass in the
Plaintiffs apartment for as long as possible by continuing to ask him
the same questions over and over unnecessarily.

29. The Plaintiff demanded the names and badge numbers of the BPD
Officers and they self-identified themselves as Officer Higgins badge
#750, Officer Lewis badge #74, and Officer Davis badge #760 (1.e. The
named BPD defendants).

The BDP Officer defendants did not identify their first names,
possibly to make discerning their identity more difficult, although the
Plaintiff has conducted a public records search and has found that the
only BPD Officers named in the public record with the last names self-
provided by the Officers are the Officers listed in (][2, 3, 4).

The Plaintiff therefore reasonably believes he has named the proper
defendants in this complaint due to the information they have self-
provided as well as the information he has obtained from public
records.

The Pro Se Plaintiff is not an attorney, not a private investigator, is
indigent, and public records are his only source of information.

Should these defendants be later found to have been somehow
misidentified (and the Plaintiff reasonably believes they have not been
misidentified as the public records have included photos which the
Plaintiff has recognized), then the Plaintiff asks The Court to look
favorably upon such amendment to his complaint that is Fair, Just,
and Proper.

30. After what seemed to be an extraordinarily long time, the BDP Officer
defendants finally left the Plaintiffs apartment, and the Plaintiff
closed, locked, and further secured his front door and attempted to fix
and replace the interior screen to his window, which Officer Higgins
had breached (broken and removed).
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31. The Plaintiff therefore asserts that his United States Constitutional
Rights (inter alia, his Fourth and Fourteenth Amendment Rights)
have been violated by the named defendants during this encounter for
the facts (i.e. their behavior; inter alia unlawfully searching the
Plaintiffs apartment, unlawfully seizing and searching the Plaintiff,
breaking into the Plaintiffs apartment, trespassing within the
Plaintiff's apartment, harassing the plaintiff, etc.) as accurately
described above.

32. The Plaintiff therefore asserts that his Maine State Constitutional
Rights (inter alia, his Article 1 Section 5 and 6-A Rights) have been
violated by the named defendants during this encounter for the facts
(i.e. their behavior; inter alia unlawfully searching the Plaintiff's
apartment, unlawfully seizing and searching the Plaintiff, breaking
into the Plaintiffs apartment, trespassing within the Plaintiff's
apartment, harassing the plaintiff, etc.) as accurately described above.

33. The Plaintiff immediately drafted an unsworn declaration describing
this encounter and submitted it to Senator Susan Collins’ Office
through that Senator’s public internet website that afternoon. The
same unsworn declaration was also submitted to The Office of
Governor Paul LePage shortly thereafter.

The Plaintiff was, at that time, submitting documentation to those
offices on what might be viewed as a regular basis, in an attempt to
solicit their help for what the Plaintiff was experiencing at that time,
and this document submission was therefore not unusual behavior for
the Plaintiff at that period in time.

The unsworn declaration has not been included in this complaint, for
purposes of brevity, but it can and will be produced during the
discovery process or sooner should The Honorable Court demand it. It
is also available from the Offices cited above as they have received
copy of it as described.

34. Approximately two weeks after the incident described above, on
09/08/17, the BPD returned to the Plaintiffs apartment and again
violated his United States Constitutional Rights, as will be described
below.

35. The Plaintiff had closed, locked, and secured the window next to his
apartment door since the 08/21/17 incident in order to ensure that his
window and door could not be breached in the same manner as Officer
Higgins had done on 08/21/17. The door was both locked and secured

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as well.

36. After trying both the door and the window and finding them locked
and secured, the BPD Officer defendants began banging loudly on the
Plaintiffs door and ringing the doorbell repeatedly for an excessive
period of time, perhaps five minutes or longer.

37. This time, they announced themselves as Bangor Police and the
Plaintiff clearly recognized the voice of Officer Higgins, which was
unmistakable, and the Plaintiff believes he also recognized the voices
of Officers Lewis and Davis although it was difficult to tell as they
didn’t talk much during the 08/21/17 incident and it was clearly
Officer Higgins who was in charge as he himself did, almost
exclusively, all of the talking during the 08/21/17 incident as well as
this new incident on 09/08/17.

38. The Officers kept yelling rude things loudly like “Open Up” and “Open
the door now” although they never stated they had a warrant and
never stated why they were there continually banging on the
Plaintiffs door and ringing the doorbell over and over again.

39. There was no justifiable or articulated reason for why the BDP
Officers (i.e. the defendants) were there, the Plaintiff did not want to
somehow give them one by opening that door, and the Plaintiff
therefore refused to open his door.

40. After approximately five minutes or more of this continued
harassment, Eagle Crest Apartment Manager Maria Mangino yelled
through the door that if the Plaintiff did not unlock it, she would call
maintenance and have them unlock his apartment door for the
officers.

41. The Plaintiff recognized this act as illegal, although apparently
condoned by the BDP and its Officer defendants, and Plaintiff
therefore did not unlock his door in response to her threat.

42. Maria Mangino also never called maintenance to unlock the Plaintiff's
door either.

43. After approximately 5-10 minutes of the harassment described
above, the group then moved to the Plaintiffs bedroom window, which
was not completely secured as the top was slightly cracked in order to
vent heat as the heating problem previously mentioned had not (and
never was) corrected.
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44, At that point, officer Higgins opened the bedroom window further and
reached through the open top of the window in order to move aside a
cardboard box the Plaintiff had placed there in order to obscure the
view as the curtain rod had broken and would no longer support a
curtain, and this too had not been fixed by Eagle Crest Apartments.

45. Officer Higgins literally opened the Plaintiff's bedroom window from
the outside, by reaching through the crack between the window and
top sill and forcing it down, and reached into the Plaintiffs bedroom in
order to move the cardboard box out of the way that the Plaintiff had
placed there for his privacy so Officer Higgins could look (search)
through the Plaintiffs window.

46. At that time Plaintiff witnessed Officer Higgins and recognized him
from the 08/21/17 encounter. Plaintiff quickly ducked out of view back
into his living room and is not sure if Officer Higgins saw the Plaintiff.

47. Officer Higgins then changed his tactic of “brute force” (i.e. banging on
Plaintiffs door loudly and repeatedly, ringing the doorbell repeatedly,
breaching the Plaintiffs window and shouting to be let in) to one of
“diplomacy”, although in the Plaintiff's reasonable estimation, it was
thinly veiled harassment.

48. Officer Higgins began speaking in a very condescending tone of voice,
like one would speak to a small child or dog, and demanded that the
Plaintiff step into view of the now open bedroom window so he could
“make sure the Plaintiff was ok”. He said he was “worried about the
Plaintiff’ and “wanted to have a chat”.

49. At this point Plaintiff grew furious with Officer Higgins and
demanded to know what Authority, Law, or Statute gave the BPD the
right to be harassing the Plaintiff, trespassing on his property, and
breaking and entering into his apartment. Neither Officer Higgins
nor the other officers in attendance attempted to cite such a law or
answer the question.

50. Plaintiff continually told Officer Higgins, over and over again, that he
and his officers were engaging in unwanted harassment as well as
trespassing and breaking and entering, and demanded that he and the
BPD leave immediately.

51. This apparently had an effect, because after telling Officer Higgins a
few times that he and his officers were engaging in harassment,

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trespassing, and breaking and entering, Plaintiff heard him have a
quick and quiet conversation with the other officers in attendance,
which was inaudible to the Plaintiff.

52. The officers then returned to their vehicles and Plaintiff heard Officer
Higgins yell loudly, “Well, he knows his Maine law” and then he yelled
“IT guess I'll be seeing you — but not in this country!” and slammed his
vehicle door shut loudly.

Plaintiff has idea why Officer Higgins yelled the second comment,
although he could speculate, although he chooses not to at this time.
Suffice to say, the second comment was both unnecessary and
extremely unnerving.

53. The Plaintiff therefore asserts that his United States Constitutional
Rights (inter alia, his Fourth and Fourteenth Amendment Rights)
have been violated by the named defendants during this encounter for
the facts, (i.e. their behavior; inter alia unlawfully searching the
Plaintiffs apartment, unlawfully confining the Plaintiff to his
apartment (seizure), breaking into the Plaintiffs apartment,
trespassing within the Plaintiff's apartment, harassing the plaintiff,
etc.) as accurately described above.

54. The Plaintiff therefore asserts that his Maine State Constitutional
Rights (inter alia, his Article 1, Section 5 and 6-A Rights) have been
violated by the named defendants during this encounter for the facts
(i.e. their behavior; inter alia unlawfully searching the Plaintiffs
apartment, unlawfully confining the Plaintiff to his apartment
(seizure), breaking into the Plaintiff's apartment, trespassing within
the Plaintiff's apartment, harassing the plaintiff, etc.) as accurately
described above.

55. After the BDP defendants had left, the Plaintiff again drafted an
unsworn declaration as he had done after the 08/21/17 encounter and
submitted it to The Office of Senator Susan Collins through the
method previously described. The Office of Governor Paul LePage
also received the unsworn declaration.

The unsworn declaration has not been included in this complaint, for
purposes of brevity, but it can and will be produced during the
discovery process or sooner should The Honorable Court demand it. It
is also available from the Offices cited above as they have received
copy of it as described.
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56. The Plaintiff then composed an email stating his dissatisfaction with
the BPD and sent it to the BPD using the email address on their
website.

The email has not been included in this complaint, for purposes of
brevity, but it can and will be produced during the discovery process
or sooner should The Honorable Court demand it. It is also available
from the BPD as they have received copy.

57. At all times relevant to this complaint, to the best of the Plaintiffs
knowledge, the individual BDP defendants were employed by the BPD
and acting under the color of law.

Plaintiff sues these BPD employee defendants in their individual
capacity.

58. Itis reasonable to believe that the BPD officer defendants were
dispatched to the Plaintiffs residence by the BPD and not acting
“rogue” or just visiting on their own accord, and thus the BPD is
named as a defendant.

It is furthermore reasonable to believe that the unlawful actions of the
BPD officer defendants have been condoned by the BPD, either
implicitly or explicitly, as they were not only dispatched to the
Plaintiffs residence on 08/21/18, where they have committed
illegalities and constitutional violations against the Plaintiff as pled in
complaint; they were again dispatched on 09/08/18 and again
committed illegalities and constitutional violations against the
Plaintiff as pled in complaint. Thus again the BPD is named as a
defendant as this unlawful and unconstitutional behavior appears to
have been condoned and endemic to the BPD.

59. The City of Bangor is the municipality who owns/operates the Bangor
Police department and the unlawful and unconstitutional behavior
that appears to have been condoned and to be endemic to the BPD is
the responsibility of The City of Bangor. Thus the City of Bangor is
named as a defendant for allowing their Police department to operate
in an unlawful and unconstitutional manner as described in
complaint.

60. Plaintiff states that it is impossible to believe that trained police
officers such as the BPD defendants did not know that actions and
constitutional violations such as breaking and entering, trespassing,
harassment, and detaining the Plaintiff against his will in his own

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apartment are illegal and thus the Plaintiff states that the defendants
are not entitled to the defenses of Qualified Immunity.

Plaintiff was and is highly upset, distraught, and traumatized as a
result of the illegal and unconstitutional actions of the defendants as

described in complaint.

Plaintiff knows he has already been victim to unlawful behavior by The
BPD and its named employee defendants, and they have broken the law
and violated his Constitutional Rights and therefore knows it could
happen again and at any time, and by any Law Enforcement Agency
under any color of Law.

Plaintiff is rightfully distrustful of Law Enforcement and feels that he
can no longer interact well with Law Enforcement Agencies as The BPD
as its’ officers have violated his United States and Maine State
Constitutional Rights and have furthermore seemingly admitted to
doing so.

The fact that the Plaintiff has been so egregiously and blatantly
injured by the defendants, as described above, has put him ina
position where he is highly uncomfortable in dealing with them, and
this fact will only continue to harm the Plaintiff in the future, as some
interactions may be sometimes necessary, and the Plaintiff believes
verifiable proof of this Fact has already occurred since this incident.

The Plaintiff is inclined to remind The Court at this time that The First
Circuit has held that “We accept as true all well-pled facts set forth in
complaint and draw all Reasonable Inferences therein in the pleader’s
favor.” (Artuso v. Vertex Pharm Inc., 637 F.3d 1, 5 (1st Cir. 2011). The
Plaintiff believes that the facts of this complaint are all well-pled and
that any inferences he may have drawn, could have drawn, or could be
drawn in this complaint are reasonable for reasons that are either
obvious or well-stated in this complaint.

The Plaintiff would like to remind The Court that his Pro Se complaint
is subject to “less stringent standards than formal pleadings drafted by
lawyers” (Haines v. Kerner, 404 U.S. 519, 520).

Plaintiff wishes to preempt a Netizke-like challenge by reminding The
Court that The United States Supreme Court has held that “a court may
dismiss a claim as factually frivolous only if the facts alleged are “clearly
baseless””. Neitzke v. Williams, 490 U.S. 319, 324 (1989).

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The facts alleged are clearly not baseless. The Plaintiff, as well as the
Office of Senator Susan Collins and The Office of the Governor, have
in their possession both the 08/21/17 and 09/08/17 unsworn
declarations describing these incidents that were written the same day
as the actions of the BPD, as they have been described in complaint.
Additionally, the Plaintiff has in his possession the email he sent the
BPD on or about 09/08/17 describing these incidents and requesting
that they stop, and defendant BPD should have this email as well as it
was sent to them using the email address they provided on their
website.

Furthermore, the Plaintiffs mother directly witnessed the 08/21/17
incident and Eagle Crest Apartment Manager Maria Mangino directly
witnessed the 09/08/17 incident, as described in complaint.

Finally, The Formal Discovery Process will produce, through dash
camera footage, body camera footage, and the Police Reports that
must exist describing these incidents, the fact that these incidents
have positively taken place as pled in complaint.

Plaintiff wishes to preempt a Denton-like challenge to this complaint by
recognizing himself that the actions of the defendants are perhaps not
what most people think of as “ordinary” in the sense that some of the
Facts are perhaps grievous, heinous, or unusual, although not
“irrational” or “wholly unbelievable” as is the threshold tn Denton, and
the Plaintiff wishes The Honorable Court to recognize that the Facts
have necessarily been made what they are due only to the defendants’
conduct, which the Plaintiff had absolutely no control over.

The United States Supreme Court has held that “An in forma pauperis
complaint may not be dismissed, however, simply because the court
finds the plaintiff's allegations unlikely” and continues to elaborate and
finally concludes by quoting the great poet George Gordon Lord Byron;

*Some improbable allegations might properly be disposed of on
summary judgment, but to dismiss them as frivolous without any factual
development ts to disregard the age old insight that many allegations
might be "strange, but true; for truth is always strange. Stranger than
fiction.”” (Denton v. Hernandez, 504 U.S. 25, 33 (1992)).

As noted above, if the Court finds the Plaintiffs allegations

unlikely, improbable, or strange, it is only due to the highly unusual
actions and conduct of the defendants, which the Plaintiff had
absolutely no control over and which has been truthfully and accurately

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described in this complaint. The Plaintiff rightfully believes this
complaint easily cleared the “clearly baseless” hurdle in Neitzke as well
as the “irrational or wholly unbelievable” hurdle in Denton and
therefore welcomes factual development to begin via The Formal
Discovery Process.

IV. Claims for Relief

Count 1

42 U.S.C. § 1983 — Deprivation of United States Constitutional Rights,

inter alia, Fourth Amendment Violation(s), unlawful search of apartment

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and person and seizure of person.
Glen Plourde v. All Defendants.
Paragraphs (12) — (69) are incorporated by reference as if pled herein.

Plaintiff alleges that all Defendants have deprived him of his
Constitutional Rights, inter alia his Fourth Amendment Rights, as
applied to the States by the Fourteenth Amendment, and as such are
liable to the Plaintiff for damages under 42 U.S.C. § 1983 as well as
punitive damages to deter such deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.

BPD Officer Brian Higgins has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

BPD Officer Edwin Lewis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

to the Plaintiff or to any other citizen again.

BPD Officer Shannon Davis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

to the Plaintiff or to any other citizen again.

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The Bangor Police Department has engaged (condoned) and is
responsible for the deprivation of the Plaintiffs United States
Constitutional Rights as discussed in (58) and is therefore liable to the
Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

The City of Bangor has engaged (condoned) and is responsible for the
deprivation of the Plaintiffs United States Constitutional Rights as
discussed in ({59) and is therefore liable to the Plaintiff for damages
including punitive damages to deter such deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.

Count 2

5 M.R.S. § 4682 — Intentional Deprivation of United States Constitutional

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Rights, inter alia, Fourth Amendment Violation(s), unlawful search of

apartment and person and seizure of person.
Glen Plourde v. All Defendants.

The Paragraphs (12) — (69) are incorporated by reference as if pled
herein.

Plaintiff alleges that all Defendants have deprived him of his
Constitutional Rights, inter alia his Fourth Amendment Rights, as
applied to the States by the Fourteenth Amendment, and as such are
liable to the Plaintiff for damages pursuant to 42 U.S.C. § 1983, 5 M.R.S
§ 4682 and Article 1 Section 19 of The Maine State Constitution as well
as punitive damages to deter such intentional deprivation of United
States Constitutional Rights from occurring to the Plaintiff or to any
other citizen again.

BPD Officer Brian Higgins has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

BPD Officer Edwin Lewis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

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to the Plaintiff or to any other citizen again.

BPD Officer Shannon Davis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

to the Plaintiff or to any other citizen again.

The Bangor Police Department has engaged (condoned) and is
responsible for the deprivation of the Plaintiffs United States
Constitutional Rights as discussed in ({]58) and is therefore liable to the
Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the

Plaintiff or to any other citizen again.

The City of Bangor has engaged (condoned) and is responsible for the
deprivation of the Plaintiffs United States Constitutional Rights as
discussed in (]59). and is therefore liable to the Plaintiff for damages
including punitive damages to deter such deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other

citizen again.

Count 3

5 M.R.S. § 4682 — Intentional Deprivation of Maine State Constitutional

Rights, inter alia, Article 1 Section 5 Violation(s), unlawful search of
apartment and person and seizure of person.

Glen Plourde v. All Defendants.

The Paragraphs (12) — (69) are incorporated by reference as if pled
herein.

Plaintiff alleges that all Defendants have intentionally deprived him of
his Maine State Constitutional Rights, inter alia his Article 1 Section 5
Maine State Constitutional Rights, and as such are liable to the
Plaintiff for damages pursuant to 5 M.R.S § 4682 and Article 1 Sections
5 and 19 of The Maine State Constitution as well as punitive damages
to deter such intentional deprivation of United States Constitutional
Rights from occurring to the Plaintiff or to any other citizen again.

BPD Officer Brian Higgins has engaged in the intentional deprivation of

the Plaintiffs Maine State Constitutional Rights and is therefore liable
to the Plaintiff for damages including punitive damages to deter such

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intentional deprivation of Maine State Constitutional Rights from
occurring to the Plaintiff or to any other citizen again.

BPD Officer Edwin Lewis has engaged in the intentional deprivation of
the Plaintiffs Maine State Constitutional Rights and is therefore liable
to the Plaintiff for damages including punitive damages to deter such
intentional deprivation of Maine State Constitutional Rights from
occurring to the Plaintiff or to any other citizen again.

BPD Officer Shannon Davis has engaged in the intentional deprivation
of the Plaintiffs Maine State Constitutional Rights and is therefore
liable to the Plaintiff for damages including punitive damages to deter
such intentional deprivation of Maine State Constitutional Rights from
occurring to the Plaintiff or to any other citizen again.

The Bangor Police Department has engaged (condoned) and is
responsible for the deprivation of the Plaintiffs United States
Constitutional Rights as discussed in (458) and is therefore liable to the
Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

The City of Bangor has engaged (condoned) and is responsible for the
deprivation of the Plaintiffs United States Constitutional Rights as
discussed in (59) and is therefore liable to the Plaintiff for damages
including punitive damages to deter such deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.

Count 4

42 U.S.C. § 1983 — Deprivation of United States Constitutional Rights,
inter alia, Fourteenth Amendment Violation(s), denial of equal access to

and protection under the law; i.e. committing the unlawful acts described
in complaint and the denial and discrimination against the enjoyment and

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exercise of the Plaintiffs Civil Rights.
Glen Plourde v. All Defendants.
Paragraphs (12) — (69) are incorporated by reference as if pled herein.
Plaintiff alleges that all Defendants have deprived him of his

Constitutional Rights, inter alia his Fourteenth Amendment Rights, as
applied to the States by the Fourteenth Amendment, and as such are

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liable to the Plaintiff for damages under 42 U.S.C. § 1983 as well as
punitive damages to deter such deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.

BPD Officer Brian Higgins has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

BPD Officer Edwin Lewis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

to the Plaintiff or to any other citizen again.

BPD Officer Shannon Davis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

to the Plaintiff or to any other citizen again.

The Bangor Police Department has engaged (condoned) and is
responsible for the deprivation of the Plaintiffs United States
Constitutional Rights as discussed in (4]58) and is therefore lable to the
Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

The City of Bangor has engaged (condoned) and is responsible for the
deprivation of the Plaintiffs United States Constitutional Rights as
discussed in (59) and is therefore liable to the Plaintiff for damages
including punitive damages to deter such deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.

Count 5

5 M.R.S. § 4682 — Intentional Deprivation of United States Constitutional

Rights, inter alia, Fourteenth Amendment Violation(s), denial of equal
access to and protection under the law; i.e. committing the unlawful acts
described in complaint and the denial and discrimination against the

enjoyment and exercise of the Plaintiff's Civil Rights.

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Glen Plourde v. All Defendants.

The Paragraphs (12) — (69) are incorporated by reference as if pled
herein.

Plaintiff alleges that all Defendants have deprived him of his
Constitutional Rights, inter alia his Fourteenth Amendment Rights, as
applied to the States by the Fourteenth Amendment, and as such are
hable to the Plaintiff for damages pursuant to 42 U.S.C. § 19838, 5 M.R.S
§ 4682 and Article 1 Section 19 of The Maine State Constitution as well
as punitive damages to deter such intentional deprivation of United
States Constitutional Rights from occurring to the Plaintiff or to any
other citizen again.

BPD Officer Brian Higgins has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

BPD Officer Edwin Lewis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

to the Plaintiff or to any other citizen again.

BPD Officer Shannon Davis has engaged in the deprivation of the
Plaintiffs United States Constitutional Rights and is therefore liable to
the Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring

to the Plaintiff or to any other citizen again.

The Bangor Police Department has engaged (condoned) and is
responsible for the deprivation of the Plaintiffs United States
Constitutional Rights as discussed in ([58) and is therefore liable to the
Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

The City of Bangor has engaged (condoned) and is responsible for the
deprivation of the Plaintiffs United States Constitutional Rights as
discussed in (4]59) and is therefore liable to the Plaintiff for damages
including punitive damages to deter such deprivation of United States

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Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.

Count 6

5 M.R.S. § 4682 — Intentional Deprivation of Maine State Constitutional
Rights, inter alia, Article 1 Section 6-A Violation(s), denial of equal access

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to and protection under the law; i.e. committing the unlawful acts
described in complaint and the denial and discrimination against the
enjoyment and exercise of the Plaintiffs Civil Rights.

Glen Plourde v. All Defendants.

The Paragraphs (12) — (69) are incorporated by reference as if pled
herein.

Plaintiff alleges that all Defendants have intentionally deprived him of
his Maine State Constitutional Rights, inter alia his Article 1 Section 6-
A Maine State Constitutional Rights, and as such are liable to the
Plaintiff for damages pursuant to 5 M.R.S § 4682 and Article 1 Sections
6-A and 19 of The Maine State Constitution as well as punitive damages
to deter such intentional deprivation of United States Constitutional
Rights from occurring to the Plaintiff or to any other citizen again.

BPD Officer Brian Higgins has engaged in the intentional deprivation of
the Plaintiffs Maine State Constitutional Rights and is therefore liable
to the Plaintiff for damages including punitive damages to deter such
intentional deprivation of Maine State Constitutional Rights from
occurring to the Plaintiff or to any other citizen again.

BPD Officer Edwin Lewis has engaged in the intentional deprivation of
the Plaintiffs Maine State Constitutional Rights and is therefore liable
to the Plaintiff for damages including punitive damages to deter such
intentional deprivation of Maine State Constitutional Rights from
occurring to the Plaintiff or to any other citizen again.

BPD Officer Shannon Davis has engaged in the intentional deprivation
of the Plaintiffs Maine State Constitutional Rights and is therefore
liable to the Plaintiff for damages including punitive damages to deter
such intentional deprivation of Maine State Constitutional Rights from
occurring to the Plaintiff or to any other citizen again.

The Bangor Police Department has engaged (condoned) and is
responsible for the deprivation of the Plaintiffs United States

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Constitutional Rights as discussed in (4/58) and is therefore liable to the
Plaintiff for damages including punitive damages to deter such
deprivation of United States Constitutional Rights from occurring to the
Plaintiff or to any other citizen again.

The City of Bangor has engaged (condoned) and is responsible for the
deprivation of the Plaintiffs United States Constitutional Rights as
discussed in (59) and is therefore liable to the Plaintiff for damages
including punitive damages to deter such deprivation of United States
Constitutional Rights from occurring to the Plaintiff or to any other
citizen again.

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to
the best of my knowledge, information, and belief that this complaint:
(1) is not being presented for an improper purpose, such as to harass,
cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address
where case related papers may be served. I understand that my failure
to keep a current address on file with the Clerk’s Office may result in
the dismissal of my case.

Date of signing: Ag wu 5 f- /8 ,202 3

Signature of Plaintiff ALA SL

Of

/o Lehr
Printed Name of Plaintiff (sl ton, LON

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